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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

    STEWART ABRAMSON, on behalf of                       :
    himself and others similarly situated,               : No. 8:19-cv-02523-TPB-AAS
                                                         :
           Plaintiff,                                    :
                                                         :
    v.                                                   :
                                                         :
    FEDERAL INSURANCE COMPANY,                           :
    0995316 B.C. LTD. D/B/A XENCALL and                  :
    BAY AREA HEALTH, LLC,                                :
                                                         :
           Defendants.                                   :
                                                         :
                                                     /

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff Stewart Abramson hereby gives notice of the dismissal of this action without

   prejudice, with each party to bear its own attorneys’ fees and costs.

                                              Respectfully submitted,

   Dated: February 15, 2021                   /s/ Avi R. Kaufman
                                              Avi R. Kaufman (Trial Counsel)
                                              Florida State Bar # 84382
                                              Kaufman P.A.
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                                              Miami, FL 33127
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                                              Attorney for Plaintiff

                                  CERTIFICATE OF SERVICE
          I, hereby certify that on February 15, 2021, I filed the foregoing with the Court’s

   CM/ECF system, which served the same on the counsel of record.


                                              /s/ Avi R. Kaufman
